  Case 3:18-cv-00252-CWR-FKB Document 181 Filed 08/30/19 Page 1 of 10




                       UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF MISSISSIPPI
                            NORTHERN DIVISION

SECURITIES AND EXCHANGE                         No: 3:18-cv-252
COMMISSION,
                                                Carlton W. Reeves, District Judge
            Plaintiffs,

     v.

ARTHUR LAMAR ADAMS AND
MADISON TIMBER PROPERTIES, LLC,

            Defendants.




                          RECEIVER’S FEE APPLICATION
          for the time period beginning June 1, 2019 and ending July 31, 2019

                                   August 30, 2019




                                               /s/ Alysson Mills
                                       Alysson Mills, Miss. Bar No. 102861
                                       Fishman Haygood, LLP
                                       201 St. Charles Avenue, Suite 4600
                                       New Orleans, Louisiana 70170
                                       Telephone: 504-586-5253
                                       Fax: 504-586-5250
                                       amills@fishmanhaygood.com
                                       Receiver for Arthur Lamar Adams and
                                       Madison Timber Properties, LLC
        Case 3:18-cv-00252-CWR-FKB Document 181 Filed 08/30/19 Page 2 of 10




Introduction

           For many years Arthur Lamar Adams, through his companies Madison Timber Company,
LLC and Madison Timber Properties, LLC, operated a Ponzi scheme that defrauded hundreds of
investors. On May 9, 2018, Adams pleaded guilty to the federal crime of wire fraud. On October
31, 2018, he was sentenced to 19.5 years in prison.

           On June 22, 2018, the Court appointed me Receiver of the estates of Adams and Madison
Timber. The order of appointment sets forth my responsibilities and duties and provides that I shall
receive reasonable compensation and reimbursement from the Receivership Estate.1 The Court has
instructed me to file a fee application “[w]ithin 30 days after the end of every 60-day period while
the Receivership is in effect.”2

           This is my fee application for the approximately 60-day period beginning June 1, 2019 and
ending July 31, 2019. It contains the following parts:

                                                                                  page
                            Receivership fee applications, generally                3
                            Pre-established billing parameters                      4
                            Receivership Estate’s fees and expenses                 5
                            Conclusion                                              8
                            Receiver’s declaration                                  9


           The Securities and Exchange Commission has reviewed and approved this fee application.




1
    Doc. 33, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-00252 (S.D. Miss).
2
    Doc. 43 at p. 2, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-00252 (S.D. Miss).


                                                                                                          2
        Case 3:18-cv-00252-CWR-FKB Document 181 Filed 08/30/19 Page 3 of 10




Receivership fee applications, generally

         A receiver’s duties “are unique to the facts and circumstances of each case.”3 It follows
that a receiver’s fees and expenses vary with the facts and circumstances of each case. The
appointing court has broad discretion to determine the reasonableness of a receiver’s fees and
expenses.4

         As before, in the course of preparing this fee application, I reviewed fee applications
submitted by receivers in other Ponzi scheme cases, including Securities and Exchange
Commission v. Stanford International Bank, Ltd., et al., No. 09-cv-0298 (N.D. Tex.) (“Stanford”);
U.S. Commodity Futures Trading Commission v. Trevor Cook, et al., No. 09-cv-3332 (D. Minn.)
(“Cook/Kiley”); and Securities and Exchange Commission v. John Scott Clark et al., No. 1:11-cv-
46 (D. Utah) (“Clark”).

         Fee applications vary in format but provide the same basic content: a summary of work to-
date, a statement of hours expended by professionals, a calculation of professional fees based on
applicable hourly rates, a statement of expenses incurred in the ordinary course of business, and a
declaration that all fees and expenses are accurate and reasonable. I provide the same basic content
here.

         Although fee applications are filed in the court’s public record, the underlying records of
each professional’s time typically are not. This is because such records necessarily include
confidential information (such as victims’ names) and information subject to attorney-client or
other privileges. To publish such information in the court’s public record also would risk disclosing
the receiver’s legal strategies to defendants. For these reasons, I provide underlying records of
each professional’s time only to the Court.

         This fee application is for the approximately 60-day period beginning June 1, 2019 and
ending July 31, 2019. As before, I offer the following context:




3
 7 Bus. & Com. Litig. Fed. Cts. § 79:48 (4th ed.).
4
 “It is well settled that such allowances are largely within the discretion of the district court . . . .” Commodity Credit
Corp. v. Bell, 107 F.2d 1001, 1001 (5th Cir. 1939).


                                                                                                                         3
     Case 3:18-cv-00252-CWR-FKB Document 181 Filed 08/30/19 Page 4 of 10




        The Stanford receiver’s seventh fee application, filed in 2010, asked for a total of
$4,010,533.60 in fees for two months’ work. That fee application was granted with a 20%
holdback.5 Of course, at $7.2 billion, the Stanford Ponzi scheme was considerably bigger than the
Ponzi scheme in this case.

        The Cook/Kiley Ponzi scheme, at $190 million, is closer in size. The Cook/Kiley receiver’s
thirteenth and fourteenth monthly fee applications, for October 2010 and November 2010, together
asked for $426,094.35 in fees for two months of work. Those fee applications were paid in full.6

        The Clark Ponzi scheme, at $47 million, was considerably smaller than the Ponzi scheme
in this case. The Clark receiver’s seventh fee application, filed in 2012, asked for a total of
$188,854.50 in fees for three months of work—again, not counting non-legal consulting fees. That
fee application was paid in full.7


Pre-established billing parameters

        The Court’s order of appointment provides that I shall bill at $275 an hour, and that my
counsel shall bill at rates not to exceed $275 an hour, with the exception of Brent Barriere, who
shall bill at $325 an hour.8

        The Court’s order of appointment authorizes me to incur expenses and make payments as
in the ordinary course of business of the Receivership Estate9 and, separately, to employ persons
to assist me in carrying out my duties as Receiver.10




5
  Doc. 1151, Securities and Exchange Commission v. Stanford International Bank, Ltd., et al., No. 09-cv-0298 (N.D.
Tex.).
6
  Docs. 580 and 604, U.S. Commodity Futures Trading Commission v. Trevor Cook, et al., No. 09-cv-3332 (D.
Minn.).
7
  Doc. 331, Securities and Exchange Commission v. John Scott Clark et al., No. 1:11-cv-46 (D. Utah).
8
  Doc. 33 at p. 4, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-00252 (S.D. Miss).
9
  Doc. 33 at p. 7-8, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-00252 (S.D. Miss).
10
   Doc. 33 at p. 8, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-00252 (S.D. Miss).


                                                                                                                4
     Case 3:18-cv-00252-CWR-FKB Document 181 Filed 08/30/19 Page 5 of 10




        Any compensation or reimbursement “will be interim and will be subject to cost-benefit
and final reviews at the close of the receivership.”11 Any fee application may, in the Court’s
discretion, be subject to a holdback in the amount of 25%.12


Receivership Estate’s fees and expenses

        Fees

        The Receivership Estate’s fees, including Receiver’s fees and Receiver’s counsel’s fees,
for the approximately 60-day period beginning June 1, 2019 and ending July 31, 2019 are:

                                                            Rate       Hours                  Total
      Receiver’s fees
      Alysson Mills                                         $275        99.30          $27,307.50

      Receiver’s counsel’s fees
      Fishman Haygood, LLP                                *$325         30.90          $10,042.50
      Brent Barriere* et al.                               $275         13.00           $3,575.00
                                                           $220         35.90           $7,898.00
                                                           $150          3.70             $555.00
                                                           $125         21.71           $2,712.50
      Brown Bass & Jeter, PLLC                              $275        34.60           $9,515.00
      Lilli Bass et al.                                     $135         0.00               $0.00
                                                                                       $61,605.50


        These fees are for work described in my Receiver’s Report filed on August 23, 2019.13 In
addition to litigating the lawsuits styled Alysson Mills v. Butler Snow, et al., No. 3:18-cv-866;
Alysson Mills v. BankPlus, et al., No. 3:19-cv-196; and Alysson Mills v. The UPS Store, Inc., et
al., No. 3:19-cv-364 (see “Contingency fee cases—hours not billed,” below), my colleagues and I
continued to administer business of the Receivership Estate. During the approximately 60-day
period beginning June 1, 2019 and ending July 31, 2019, my colleagues and I: sold the


11
   Doc. 33 at p. 14, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-00252 (S.D. Miss).
12
   Doc. 33 at p. 14-15, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-00252 (S.D. Miss).
13
   Doc. 155, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-00252 (S.D. Miss).


                                                                                                             5
     Case 3:18-cv-00252-CWR-FKB Document 181 Filed 08/30/19 Page 6 of 10




Receivership Estate’s interest in Mallard Park, LLC; continued to account for “commissions” and
gifts and negotiated the return of money from Century Club Charities, Berachah Church, R.B.
Thieme, Jr. Bible Ministries, and Operation Grace World Ministries; negotiated proposed
settlements with First National Bank of Commerce and Patrick Sands that if approved will result
in the Receivership Estate’s owning a 100% interest in Oxford Springs, LLC; finalized settlement
with Mike Billings; continued to request and review records of banks, law firms, and other third
parties that had professional relationships with Adams or Madison Timber; continued to work with
remaining LLCs of which Adams was a member; continued to confer with federal and state
authorities; continued to communicate with investors in Madison Timber via phone, letter, email,
and in-person meetings; continued to interview individuals with first-hand knowledge of matters
bearing on the Receivership Estate; continued to meet with counsel for third parties that had
professional relationships with Adams or Madison Timber; and continued to research legal claims
against third parties as new facts are discovered. Time records for the approximately 60-day period
beginning June 1, 2019 and ending July 31, 2019 shall be separately provided to the Court for in
camera review.

       Of the hours recorded above, 10.2 hours, or $2,739.50, were spent on the lawsuit Alysson
Mills vs. Michael D. Billings, et al., No. 3:18-cv-679. Including hours previously recorded, my
colleagues and I have spent a total of 599.7 hours on the lawsuit since it was filed, at a total expense
of $153,269. This time and expense have proved a good investment, given that we obtained
settlements from Wayne Kelly and Mike Billings worth approximately $2,000,000 and $800,000,
respectively, and obtained a judgment against Bill McHenry for $3,473,320.

       My colleagues and I are sensitive to the Receivership Estate’s limited resources and we
hope our fees reflect that. We have not charged for work that we believe was duplicative. We have
not charged for travel. Our agreed-upon rates generally are lower than market rates.


       Expenses

       The Receivership Estate’s expenses for the approximately 60-day period beginning June
1, 2019 and ending July 31, 2019 are:




                                                                                                      6
     Case 3:18-cv-00252-CWR-FKB Document 181 Filed 08/30/19 Page 7 of 10




                       Copier charges                                  $0.10
                       Printer charges                               $80.90
                       Express mail and postage                     $218.33
                       Long distance calls                          $450.36
                       Westlaw research                           $1,766.90
                       Service of process                           $721.80
                       Appraisals                                    $96.30
                       Homeowners insurance                         $157.08
                       Pacer research                                $73.10
                                                                  $3,114.51


       Most of these expenses are self-explanatory and are the kinds of expenses typically
incurred in any legal matter. The homeowners insurance expense reflects monthly premiums for
the homeowners insurance policy for the Adams’s home at 134 St. Andrews before it was sold. As
always, I have not charged for long distance calls or travel.


       Contingency fee cases—hours not billed

       In addition to the hours reported above, my counsel and I have recorded a total of 780.7
hours on the lawsuits Alysson Mills v. Butler Snow, et al., No. 3:18-cv-866; Alysson Mills vs.
BankPlus, et al., No. 3:19-cv-196 (S.D. Miss); and Alysson Mills vs. The UPS Store, Inc., et al.,
No. 3:19-cv-364 (S.D. Miss). I have not billed the Receivership Estate for this time. I believe
billing the Receivership Estate for the time spent on these and possibly other lawsuits will deplete
the Receivership Estate’s limited resources. Vigorous litigation against well-resourced defendants
makes lawsuits such as these costly.

       In the interest of conserving the Receivership Estate’s limited resources, my primary
counsel, Brent Barriere and Fishman Haygood, LLP, have agreed to represent the Receivership
Estate in these lawsuits on a contingency fee, or success-based, arrangement. Fishman Haygood,
LLP shall advance all costs and out-of-pocket expenses and bear the entire risk of any losses. This




                                                                                                  7
     Case 3:18-cv-00252-CWR-FKB Document 181 Filed 08/30/19 Page 8 of 10




arrangement is consistent with the Court’s order of appointment14 and separate order regarding fee
arrangement.15

        Of course any fee arrangement is subject to the continuing oversight of the Court—and any
fees paid by the Receivership Estate, whether on an hourly basis or as a contingency fee, are subject
to the Court’s review and approval at an appropriate time. No contingency fee will be paid without
proper notice and application.


Conclusion

        Currently the Receivership Estate has $5,965,531.08 in the bank—still a healthy sum at
this point but far from enough to make a meaningful distribution.

        As I have stated, the Receivership Estate’s most valuable assets are the lawsuits it has filed
and intends to file. I anticipate that the next few months will require substantial work by counsel,
and possibly experts, as we litigate against third parties. As always I will monitor all work for
inefficiencies and unnecessary expense.

        In the meantime, I continue to believe our team is providing very good value for cost—
particularly when viewed in the context of other receiverships, which at this point cost many
multiples more per day.




14
   Doc. 43 at p. 10, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-00252 (S.D. Miss) (the
Receiver shall make “a recommendation as to whether litigation against third parties should be commenced on a
contingent fee basis to”).
15
   Doc. 154, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-00252 (S.D. Miss).


                                                                                                                8
    Case 3:18-cv-00252-CWR-FKB Document 181 Filed 08/30/19 Page 9 of 10




                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF MISSISSIPPI
                                NORTHERN DIVISION

 SECURITIES AND EXCHANGE                               No: 3:18-cv-252
 COMMISSION,
                                                       Carlton W. Reeves, District Judge
                Plaintiffs,

        v.

 ARTHUR LAMAR ADAMS AND
 MADISON TIMBER PROPERTIES, LLC,

                Defendants.




                              DECLARATION OF ALYSSON MILLS

       In support of the foregoing fee application for the approximately 60-day period beginning
June 1, 2019 and ending July 31, 2019, I declare:

   1. This application and all fees and expenses described in it are true and accurate.
   2. The fees and expenses were incurred in the best interests of the Receivership Estate.
   3. The fees are based on the rates agreed-upon in advance, which rates are reasonable,
       necessary, and commensurate with the skill and experience required for the work
       performed.
   4. The fees are supported by records for time spent on services rendered, which I have
       separately provided to the Court for in camera review. The records set forth in reasonable
       detail an appropriate narrative description of the services rendered. The description
       includes indications of the participants in, as well as the scope, identification, and purpose
       of the activity that is reasonable under the circumstances.
   5. The fees do not include time spent on the preparation of this application or its supporting
       documentation.
   6. The expenses are supported by receipts or equivalent documents, which I have separately
       provided to the Court for in camera review.



                                                                                                   9
  Case 3:18-cv-00252-CWR-FKB Document 181 Filed 08/30/19 Page 10 of 10




7. With the exception of professionals I retained with the Court's prior approval, I have not
   entered into any agreement, written or oral, express or implied, with any person or entity
   concerning the amount of compensation paid or to be paid from the Receivership Estate or
   any sharing thereof.




   DATED:                  f                            7Uu4
                                        Alysson Mills
                                        Receiver




                                                                                          10
